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                               CERTIFICATE OF SERVICE

         I hereby certify that on March 29, 2012, I electronically filed the foregoing document
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to all attorneys of record.


                                                   /s/ Jerrold S. Parker
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